Case 2:19-cv-08035-GW-SS Document2 Filed 09/17/19 Page 10f3 Page ID #:13
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET
1. (a) PLAINTIFFS ( Check box if you are representing yourself |] ) DEFENDANTS

Richard Nakai, individually and on behalf of all others similarly situated Charter Communications, Inc. d/b/a Spectrum

 

{ Check box if you are representing yourself ["] )

 

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Aaron D. Aftergood (SBN 239853), aaron@aftergoodesq.com 1880 Century Park
East, Suite 200 Los Angeles, California 90067, Telephone: (310) 551-5221

 

 

H. BASIS OF JURISDICTION (Place an X in one box only.) lil. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF or PTF DEF

1. U.S. Government 3. Federal Question (U.S. Citizen of This State Cli oi Incorporated or Principal Place rp4o4
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [~] 2 [] 2. Incorporated and Principal Place f]5 (5
>US.G D (ind c h of Business in Another State

. U.S. Government 4. Diversity (Indicate Citizenship | Citizen or Subject of a Forei .
: Nati 6 6

Defendant CO of Parties in Item Ill) Foreign Country LJ] 3 [) 3 Foreign Nation i U

 

 

IV. ORIGIN (Place an X in one box only.)

1. Original 2. Removed from O 3. Remanded from
Proceeding State Court Appellate Court

8. Multidistrict
Litigation -
Direct File

6. Multidistrict
Litigation -
Transfer

5. Transferred from Another
District (Specify)

4. Reinstated or
Reopened

C] CJ CL] L

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [_] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: Yes []No [_] MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
47 US.C. 227, et seq.

 

VII. NATURE OF SUIT (Place an X in one box only).

 

   

 

      
 
 

 

 

 

   

 

     

 

 

   

   

 

"OTHERSTATUTES [CONTRACT [REAL PROPERTYCONT. | IMMIGRATION | PRISONERPETITIONS | PROPERTYRIGHTS
[-] 375 False Claims Act ["] 110 Insurance [_] 240 Torts to Land oO ee Naturalization Habeas Corpus: (_] 820 Copyrights
pplicatio . .
re aultam | E20Marne ET abi | gescother | Sto Motions vacate [U1 820 Patent
(31 USC 3729(a)) [[] 130 Miller Act [[] 290 All Other Real CI] Immigration Actions CI Sentence 835 Patent - Abbreviated
O New Drug Applicati
Oo 400 State 140 Negotiable Property _ = TORTS” [_] 530 General lew Drug Application
Reapportionment CT instrument ONAL PROPERTY |[_] 535 Death Penalty [-] 840 Trademark
[] 410 Antitrust 150 Recovery of n BRSONALIN -\[[] 370 Other Fraud Other: ____ SOCIALSECURITY
‘ Overpayment 310 Airplane SOL)
[] 430 Banks and Banking |] Enforcement of o 315 Airplane [_] 371 Truth in Lending ["] 540 Mandamus/Other L] 861 HIA (1395ff)
450 Commerce/iCC Judgment “ab vil Bi [_] 862 Black Lung (923)
C1 p 3 Product Liability 380 Other P 1 {L_] 550 Civil Rights
tes/Etc. ther Persona
Ol 460 Deportation FE] 151 Medicare Act Oo ow Assault Libel & C] Property Damage Og 555 Prison Condition Cc] 863 DIWC/DIWW (405 (g))
ander
- 152 Recovery of ' 385 Property Damage 560 Civil Detainee ["] 864 SSID Title XVI
Cc] 470 Racketeer influ [[] Defaulted Stident 0 330 Fed. Employers C Product Liability C] Conditions of
5 nae _ i Loan (Excl. Vet) Liability == BANKRUPTCY oa Confinement [-] 865 RSI (405 (g))
480 Consumer Credit oo 340 Marine ee a : 2 __ —_—
[1] 490 Cable/sat Tv 153 Recovery of |! 345 Marine Product |[-] 422Appeal28 | FORFEITUREIPENALTY | _FEDERALTAXSUITS
Overpayment of |[] Ljabilit USC 158 625 Drug Related 870 Taxes (U.S. Plaintiff or
850 Securities/Com- Vet. Benefits y ‘ C] Seizure of Property 21. |] “
CI ° ; 423 Withdrawal 28 perty Defendant)
modities/Exchange 160 Stockholders’ |L_] 350 Motor Vehicle CO use is7 USC 881 871 IRS-Third Party 26 USC
890 Other Statutory C] Suits O 355 Motor Vehicle  CIVILRIGHTS. [-] 690 Other C 7609
Actions Product Liability ara “LABOR ee
C1] 891 Agricultural Acts [7] 190 Other q 360 Other Personal |L] 440 Other Civil Rights]. MABOR
893 Environmental Contract injury [-] 441 Voting Oo 710 Fale Labor Standards
O Matters a 195 Contract Oo 362 Personal tnjury- c
895 Freed fInf C] Product Liability Med Malpratice [_] 442 reployment Oo 720 Labor/Mgmt.
reedom of Info. . Tiny. 443 Housing. elations
CI act [-] 196 Franchise O 365 Personal Injury- |[7] accommodations
z Product Liability (] 740 Railway Labor Act
([] 896 Arbitration _REAL PROPERTY 367 Health Care/ 445 American with
210 Land (| Pharmaceutical [] Disabilities- Ct 751 Family and Medical
899 Admin. Procedures Condemnation Personal Injury Employment Leave Act
["] Act/Review of Appeal of (J 220 Foreclosure Product Liability 446 American with Oo 790 Other Labor
Agency Decision 368 Asbestos O Disabilities-Other Litigation
Og 950 Constitutionality of gO 230 Rent Lease& |[_] parsonal Injury [1] 448 Education Oo 791 Employee Ret. inc.
State Statutes Ejectment Product Liability Security Act

 

 

 

 

 

 

FOR OFFICE USE ONLY:
CV-71 (05/17)

Case Number:

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

VIE. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject

to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed |.
from state court?
No

[| Yes

 
 

TATE CASE WAS PENDING IN THE COUNTY

 
 

 

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the

 

corresponding division in response to
Question E, below, and continue from there.

 

QU STION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes No

check one of the boxes to the right

[-] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[,] Orange Southern
[_] Riverside or San Bernardino Eastern

B.1 . Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

=>

 

YES. Your case will initially be assigned to the Southern Division.
[-] Enter "Southern" in response to Question E, below, and continue
from there.

 

[_] NO. Continue to Question B.2.

 

if"no," skip to Question C. if "yes," answer
Question B.1, at right.

 

Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

QUESTION C:

[J] Yes No

check one of the boxes to the right

check one of the boxes to the right

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

a=

C.1 . Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

a

YES. Your case will initially be assigned to the Eastern Division.
["] Enter "Eastern” in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
LC] Enter "Western" in response to Question E, below, and continue
from there.

YES. Your case will initially be assigned to the Southern Division.
[_] Enter "Southern" in response to Question E, below, and continue
from there.

 

[] NO. Continue to Question C.2.

 

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

 

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

check one of the boxes to the right

€.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

=p

YES. Your case will initially be assigned to the Eastern Division.
[_] Enter “Eastern” in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
[] Enter "Western" in response to Question E, below, and continue
from there.

 

 

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.) _

 

 

D.1., Is there at least one answer in Column A?

[| Yes No

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.

Enter "Southern" in response to Question E, below, and continue from there.

cap

IF "no," go to question D2 to the right.

 

D.2. Is there at least one answer in Column B?

If "no," your case will be assigned to the WESTERN DIVISION.

 

 

[_] Yes No

If "yes," your case will initially be assigned to the
EASTERN DIVISION.

Enter “Eastern” in response to Question E, below.

Enter "Western" in response to Question E, below.

 

 

QUESTION E: Initial Division?

 

 

 

INCACD

 

 

__NITIAL DIVISION

 

 

 

 

 

WESTERN

 

 

Enter the initial division determined by Question A,B, C, or D above: =

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants i in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

 

[] Yes No

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [| YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [] yes

 

Civil cases are related when they (check all that apply):

[] A. Arise from the same or a closely related transaction, happening, or event;

| B. Call for determination of the same or substantially related or similar questions of law and fact; or

| C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

| A. Arise from the same or a closely related transaction, happening, or event;

[| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /S/ Aaron Aftergood DATE: 9/13/2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A). .

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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